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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

SCOTT JENKINS and JENKINS DISPLAYS CO., )
                                        )
     Plaintiffs,                        )
                                        )
     -vs-                               )                  Case No. 21-cv-00434-DWD
                                        )
FAYETTE COUNTY CIRCUIT COURT,           )
                                        )
     Defendant.                         )

                     DEFENDANT’S MOTION TO DISMISS
           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

       NOW COMES the Defendant, FAYETTE COUNTY CIRCUIT COURT, by and through

its attorney, Kwame Raoul, Attorney General for the State of Illinois, and, pursuant to Federal

Rule of Civil Procedure 12(b)(6), hereby moves this Honorable Court to grant its Motion to

Dismiss. In support of this motion, Defendant states the following:

   1. On April 29, 2021, Plaintiffs filed a complaint against Fayette County Circuit Court,

       alleging that by order of a trial judge, Plaintiffs are unable to file documents in a Fayette

       County Circuit Court case, and raising allegations of public record tampering in violation

       of 720 ILCS 5/32-8. (Doc. 1).

   2. Fayette County Circuit Court is not a suable entity pursuant to Federal Rule of Civil

       Procedure 17(b).

   3. As Fayette County Circuit Court is not a suable entity, Plaintiffs’ complaint fails to state a

       claim upon which relief can be granted and should be dismissed pursuant to Federal Rule

       of Civil Procedure 12(b)(6).

   4. A Memorandum of Law in support of this Motion is attached hereto and incorporated

       herein.


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       WHEREFORE, for the above and foregoing reasons, the Defendant respectfully requests

that this Honorable Court dismiss the Plaintiffs’ complaint without prejudice.

                                             Respectfully submitted,

                                             FAYETTE COUNTY CIRCUIT COURT,

                                                    Defendant,

                                             KWAME RAOUL, Attorney General, State of
                                             Illinois,

                                                    Attorney for Defendant,

                                             By: ____s/_Victoria Fuller_____
                                                    Victoria Fuller, #6329700
                                                    Assistant Attorney General
                                                    500 South Second Street
                                                    Springfield, Illinois 62701
                                                    Telephone: (217) 782-9014
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                                                    E-Mail: vfuller@atg.state.il.us;
                                                    victoria.fuller@illinois.gov




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

SCOTT JENKINS and JENKINS DISPLAYS CO., )
                                        )
     Plaintiffs,                        )
                                        )
     -vs-                               )                  Case No. 21-cv-00434-DWD
                                        )
FAYETTE COUNTY CIRCUIT COURT,           )
                                        )
     Defendant.                         )

                                CERTIFICATE OF SERVICE

        I hereby certify that on June 14, 2021, the foregoing document, Defendant’s Motion to

Dismiss Pursuant to FRCP 12(b)(6), was electronically filed with the Clerk of the Court using

the CM/ECF system which will send notification of such filing to the following:

        None

and I hereby certify that on the same date, I caused a copy of same to be mailed by United States

Postal Service, in an envelope fully prepaid and properly addressed, to the following participant:

       Scott Jenkins
       Jenkins Displays Co.
       1910 Hollow Drive
       Vandalia, IL 62471

                                             By: ____s/_Victoria Fuller_____
                                                    Victoria Fuller, #6329700
                                                    Assistant Attorney General
                                                    500 South Second Street
                                                    Springfield, Illinois 62701
                                                    Telephone: (217) 782-9014
                                                    Facsimile: (217) 782-8767
                                                    E-Mail: vfuller@atg.state.il.us;
                                                    victoria.fuller@illinois.gov




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